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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTH DAKOTA

In the Matter of David Alan Dick,
A Member of the Bar of the                                            Case No. 1:20-mc-005
United States District Court
For the District of North Dakota

                                  ORDER TO SHOW CAUSE

       The Arizona Supreme Court issued an Order entered on May 27, 2020, suspending the

admission of David Alan Dick, for a period of sixty (60) days, effective May 29, 2020 through July

27, 2020. David Alan Dick is a member of the Bar of the United States District Court for the

District of North Dakota.

         IT IS ORDERED, pursuant to D.N.D. Gen. L. R. 1.3(H)(2), that David Alan Dick show

cause within thirty (30) days from this date why he should not be suspended from practice before

this Court. A personal appearance and formal proceeding may be waived by the filing of an affidavit

by David Alan Dick consenting to the suspension of her admission to the Bar of this Court to

coincide with the suspension ordered by the Supreme Court of Arizona. A personal appearance and

formal proceeding may be waived by the filing of an affidavit by Daivd Alan Dick consenting to the

revocation of his admission to the Bar of this Court.

       Dated this 24th day of June, 2020.


                                                        /s/ Peter D. Welte
                                                        Peter D. Welte, Chief Judge
                                                        United States District Court
